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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO VISION

RICHARD KADREY, et al.,                             Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,
                                                    PLAINTIFFS’ ADMINISTRATIVE
   v.                                               MOTION TO CONSIDER WHETHER
                                                    ANOTHER PARTY’S MATERIAL
META PLATFORMS, INC.,                               SHOULD BE SEALED

                                     Defendant.

                 PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S
                                                             MATERIAL SHOULD BE SEALED
                                                                   CASE NO. 3:23-cv-03417-VC
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       Pursuant to Civil Local Rules 7-11, 79-5(f), and this Court’s Standing Order on

Motions to Seal, Plaintiffs respectfully submit this Administrative Motion to Consider Whether

Another Party’s Material Should Be Sealed, filed in connection with Plaintiffs’ Motion to Amend

Case Management Schedule (the “Scheduling Motion”). The Scheduling Motion and the

Declaration of Maxwell V. Pritt in Support of Plaintiffs’ Motion to Amend Case Management

Schedule (the “Scheduling Motion Declaration”) contain, in various places, summaries or

descriptions of material that Defendant Meta Platforms, Inc., has designated as “Confidential” or

“Attorneys Eyes Only,” as defined in the in the parties’ Stipulated Protective Order for Litigation

Involving Patents, Highly Sensitive Confidential Information and/or Trade Secrets (ECF No. 90,

the “Protective Order”). Pritt Decl. ¶ 3.

       The Protective Order expressly applies to “any information copied or extracted from

Protected Material” and “summaries” of Protected Material. ECF No. 90 at 3-4. Accordingly,

Plaintiffs have filed a public version of the Scheduling Motion and the Scheduling Motion

Declaration to the docket via ECF redacting references to such extracted information or summaries

and will submit unredacted, highlighted versions separately to the Court and to Defendant.




Dated: September 30, 2024                      Respectfully submitted,
                                               BOIES SCHILLER FLEXNER LLP

                                               /s/ Maxwell V. Pritt

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